  Case 18-41703         Doc 17     Filed 09/27/18 Entered 09/27/18 16:14:29               Desc Main
                                     Document     Page 1 of 5


                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MINNESOTA
In re:

Aguedo Domingo Blanco,                                                                       Chapter 7
a/k/a Aguedo Blanco Delgado, and                                                    BKY 18-41703-MER
Hilda Abundez Bonfil,
                           Debtors.

                                         NOTICE OF SALE

TO:      The United States Trustee, all creditors, and other parties in interest.

On October 19, 2018, or as soon thereafter as the transaction may be completed, the trustee will
sell property of the estate as follows:

         The debtors’ non-exempt assets include the following: Camera with a scheduled value of
$150, Cell phones with a scheduled value of $200, and Treadmill with a scheduled value of
$150. The debtors will also turnover non-exempt bank account balances of $4,319.31, cash of
$16.00, and wages of $325.36, for a total of $5,160.67.
         The debtors will pay $250.00, payable in monthly payments, starting in October 2018 and
to be paid off with their share of the 2018 tax refunds. The chapter 7 trustee shall retain a
security interest in the assets until paid in full. The costs of liquidation would quickly offset any
value to the estate. As such, the trustee believes the sale is in the best interests of the estate. The
trustee requests that the stay pursuant to Bankruptcy Rule 6004(g) be waived and shall not apply
to this sale. The asset is sold “as is” without any representations and warranties.

                          OBJECTION:              MOTION:         HEARING

Under applicable rules, any objection must be in writing, be delivered to the trustee and the
United States Trustee, and be filed with the clerk, not later than 12:00 noon on the day before the
above date. If an objection is timely delivered and filed, the court will hold an expedited hearing
on the objection with reduced notice of the hearing. The hearing will be scheduled by the trustee
with notice by the trustee to the objecting party and the United States Trustee. If an objection is
made or an order is required, the undersigned trustee moves the court for such orders as may be
necessary and appropriate.

 Clerk of Bankruptcy Court             United States Trustee           Nauni J. Manty, Trustee
 301 U.S. Courthouse                   1015 U.S. Courthouse            401 2nd Avenue N., Suite 400
 300 South Fourth Street               300 South Fourth Street         Minneapolis, MN 55401
 Minneapolis, MN 55415                 Minneapolis, MN 55415

                                             By             /e/ Nauni J. Manty
Dated: September 26, 2018                                      Nauni J. Manty, Trustee
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                                                 Document     Page 2 of 5




                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MINNESOTA

IN RE: AGUEDO DOMINGO BLANCO                                    CASE NO: 18-41703
       HILDA ABUNDEZ BONFIL                                     DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7




On 9/26/2018, I did cause a copy of the following documents, described below,
Notice of Sale




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 9/26/2018
                                                          /s/ Nauni Manty
                                                          Nauni Manty
                                                          Manty & Associates, P.A.
                                                          401 N 2nd Avenue, Suite 400
                                                          Minneapolis, MN 55401
                                                          612 465 0990
                 Case 18-41703           Doc 17       Filed 09/27/18 Entered 09/27/18 16:14:29                       Desc Main
                                                        Document     Page 3 of 5




                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF MINNESOTA

 IN RE: AGUEDO DOMINGO BLANCO                                           CASE NO: 18-41703
        HILDA ABUNDEZ BONFIL
                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 7




On 9/26/2018, a copy of the following documents, described below,

Notice of Sale




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 9/26/2018




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Nauni Manty
                                                                            Manty & Associates, P.A.
                                                                            401 N 2nd Avenue, Suite 400
                                                                            Minneapolis, MN 55401
             Case AS
PARTIES DESIGNATED 18-41703      DocNOT
                      "EXCLUDE" WERE  17 SERVED
                                           FiledVIA
                                                  09/27/18
                                                    USPS FIRST Entered   09/27/18 16:14:29 Desc Main
                                                                CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                             Document        Page 4 of 5
CASE INFO                                EXCLUDE                                  BEST BUY CREDIT SERVICES
LABEL MATRIX FOR LOCAL NOTICING          MINNEAPOLIS                              PO BOX 78009
08644                                    301 US COURTHOUSE                        PHOENIX AZ 85062-8009
CASE 18-41703                            300 SOUTH FOURTH STREET
DISTRICT OF MINNESOTA                    MINNEAPOLIS MN 55415-1320
MINNEAPOLIS
WED SEP 26 13-40-50 CDT 2018



BEST BUY HSBC                            BLOOMINGTON SHOPPES DEVELOPERS           BLOOMINGTON SHOPPES DEVELOPERS
RETAIL SERVICES                          5353 WAYZATA BLVD STE 650                8501 LYNDALE AVENUE SOUTH
PO BOX 15521                             MINNEAPOLIS MN 55416-1349                BLOOMINGTON MN 55420-2237
WILMINGTON DE 19850-5521




CENTER POINT ENERGY                      CENTER POINT ENERGY                      CENTURY LINK
PO BOC 1144                              PO BOX 4671                              404 BROCK DRIVE
MINNEAPOLIS MN 55440-1144                HOUSTON TX 77210-4671                    BLOOMINGTON IL 61701-2654




CENTURY LINK                             CITY OF BLOOMINGTON                      DOLORES BUNAY PINEDA
PO BOX 91154                             1800 W OLD SHAKOPEE RD                   5160 160TH STREET SE
SEATTLE WA 98111-9254                    BLOOMINGTON MN 55431-3027                APT 105
                                                                                  PRIOR LAKE MN 55372-2541




ECKTOR TAVERAZ                           ECKTTOR TAVERAS VERAS                    FATIMA BUNAY ORTIZ
BO CANOVANILLAS                          1 WEST LAKE STREET                       5160 160TH STREET SE
CARR 3 R 857 KM6 7                       185                                      APT 105
CAROLINA PR 00986                        MINNEAPOLIS MN 55408-3362                PRIOR LAKE MN 55372-2541




GURSTEL STALOCH CHARGO                   HERBERGERS                               CITIBANK
6681 COUNTY CLUB DR                      PO BOX 659450                            PO BOX 790034
GOLDEN VALLEY MN 55427-4601              SAN ANTONIO TX 78265-9450                ST LOUIS MO 63179-0034




JONATHON D NELSON                        NEPP HACKERT LLC                         RICHFIELD BLOOMINGTON CU
GURSTEL LAW FIRM PC                      1 W LAKE ST 185                          345 E 77TH STREET
6681 COUNTRY CLUB DRIVE                  MINNEAPOLIS MN 55408-3362                RICHFIELD MN 55423-4358
GOLDEN VALLEY MN 55427-4601




RICHFIELD BLOOMINGTON CU                 SAMS CLUB MCSYNCB                        SAMS CLUBSYNCHRONY BANK
PO BOX 4519                              PO BOX 960013                            PO BOX 530942
CAROL STREAM IL 60197-4519               ORLANDO FL 32896-0013                    ATLANTA GA 30353-0942




TARGET CARD SERVICES                     TARGET CARD SERVICES                     TD BANK USA
PO BOX 1581                              PO BOX 660170                            BY AMERICAN INFOSOURCE AS AGENT
MINNEAPOLIS MN 55440-1581                DALLAS TX 75266-0170                     PO BOX 248866
                                                                                  OKLAHOMA CITY OK 73124-8866
             Case AS
PARTIES DESIGNATED 18-41703      DocNOT
                      "EXCLUDE" WERE  17 SERVED
                                           FiledVIA
                                                  09/27/18
                                                    USPS FIRST Entered   09/27/18 16:14:29 Desc Main
                                                                CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                             Document        Page 5 of 5
US TRUSTEE                               WELLS FARGO HOME MORTGAGE                WELLS FARGO HOME MORTGAGE
1015 US COURTHOUSE                       PO BOX 10335                             PO BOX 14538
300 S 4TH ST                             DES MOINES IA 50306-0335                 DES MOINES IA 50306-3538
MINNEAPOLIS MN 55415-3070




                                                                                  DEBTOR
XCEL ENERGY                              XCEL ENERGY   NSP
414 NICOLLET MALL                        PO BOX 9477                              AGUEDO DOMINGO BLANCO
MINNEAPOLIS MN 55401-1993                MINNEAPOLIS MN 55484-0001                8408 16TH AVENUE SOUTH
                                                                                  BLOOMINGTON MN 55425-1744




EXCLUDE                                                                           EXCLUDE
                                         HILDA ABUNDEZ BONFIL
CRAIG W ANDRESEN                         8408 16TH AVENUE SOUTH                   NAUNI JO MANTY
CRAIG W ANDRESEN LAW OFFICE              BLOOMINGTON MN 55425-1744                MANTY ASSOCIATES PA
2001 KILLEBREW DR STE 150                                                         401 SECOND AVENUE NORTH
BLOOMINGTON MN 55425-3851                                                         SUITE 400
                                                                                  MINNEAPOLIS MN 55401-2097
